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                       IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,
v.                                                          No. 22-cr-1975 JCH

ZOILO ORTIZ-ORTIZ,

       Defendant.

                         MEMORANDUM OPINION AND ORDER

       On June 15, 2023, Defendant Zoilo Ortiz-Ortiz (“Defendant”) filed an Opposed Motion to

Disclose Any Prior Information in the Possession of the New Mexico Police Department and the

Department of Homeland Security (ECF No. 22). Having considered the motion, briefs, evidence,

and applicable law, the Court will deny Defendant’s motion.

       I.      BACKGROUND

       According to the Complaint, on November 14, 2022, Homeland Security Investigations

(“HSI”) Task Force Officer (“TFO”) Juan Rodriguez of the New Mexico State Police (“NMSP”)

conducted a traffic stop of a black BMW sedan with Arizona license plate YYA-6PG traveling

eastbound on Interstate 40, after he allegedly observed the car following too closely to a vehicle

in violation of N.M.S.A. § 66-7-318. (See Compl. ¶ 7, ECF No. 1.) Mr. Ortiz-Ortiz was driving

the vehicle. (Id. ¶¶ 8-9.) Two more officers, Bureau of Indian Affairs (“BIA”) TFO Nicholas

Jackson and TFO Hermillo Lucero, arrived on scene. (See id. ¶ 9; Def.’s Ex. D, ECF No. 22-1.)

Jackson deployed his drug detection dog around the car, and the dog purportedly alerted to the

presence of illegal narcotics. (Compl. ¶ 9, ECF No. 1.) Officers then searched the vehicle and

located ten bundles of what appeared to be a controlled substance. (Id. ¶¶ 9-10.) Defendant was
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subsequently indicted for possessing with intent to distribute 500 grams and more of a mixture and

substance containing methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A).

(Indictment, ECF No. 11.)

       In discovery, Defendant received a November 16, 2022, Report of Investigation written by

Special Agent Patrick F. Werick of the Drug Enforcement Administration (“DEA”). (See Def.’s

Ex. D, ECF No. 22-1.) The report detailed that on November 14, 2022, “a source of information”

contacted Werick and provided information that a black BMW bearing Arizona license plate YYA-

6PG was traveling from Arizona to New Mexico to deliver illegal narcotics. (Id.) According to the

report, Werick relayed information about the tip and vehicle information to Jackson, who in turn

gave the information to Rodriguez and Lucero. (Id.)

       On June 15, 2023, Defendant filed a Motion to Suppress Evidence (ECF No. 20), arguing

that the stop of his vehicle was not based on reasonable suspicion or probable cause, and thus

unconstitutional. According to Defendant, the video evidence from Rodriguez’s dash cam shows

that he was more than 90 feet behind the car ahead of him, a reasonable distance that did not violate

§ 66-7-318. (Def.’s Mot. to Suppress 6-7, ECF No. 20.) Defendant contends that he was not

stopped for a violation of the traffic code, but instead stopped without reasonable suspicion or

probable cause to pursue a drug trafficking investigation. (Def.’s Mot. to Disclose 4, ECF No. 22.)

An evidentiary hearing is scheduled for the motion to suppress on August 29, 2023. (Notice, ECF

No. 28.)

       Defendant also filed this motion to disclose, seeking “any information concerning Mr.

Ortiz-Ortiz which was in the possession of the Albuquerque Office of the Department of Homeland

Security or the New Mexico State Police Department prior to the traffic stop of Mr. Ortiz-Ortiz on

November 14, 2022,” (Def.’s Mot. to Disclose 1, ECF No. 22), including any tips from confidential
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informants, law enforcement reports, intercepted telephone conversations, text messages, social

media messages or emails, and any telephone records, (id. at 4). Defendant states that he needs the

information prior to the evidentiary hearing to show that the stop was not supported by probable

cause. (Id.) He also requests the Government provide all relevant Brady and Giglio information,

including any impeachment material and other information concerning the reasons for the traffic

stop. (Id. at 1, 3.)

        In response to Defendant’s motions, the United States disclosed the following additional

information:

        On November 14, 2022, Homeland Security Investigations (“HSI") Special Agent
        Patrick Werick, who is based in the District of New Mexico, received a phone call
        from Arizona Department of Public Safety Officer Aaron Richmond. Officer
        Richmond informed Special Agent Werick that he had intelligence to suggest that
        a black sedan BMW bearing the Arizona license plate YYA6PG was potentially
        traveling to New Mexico that day and may be loaded with a substantial quantity of
        methamphetamine.

        Armed with this information, Special Agent Werick contacted Bureau of Indian
        Affairs K-9 Officer Nicholas Jackson.… Officer Jackson then informed New
        Mexico State Police Officers Juan Rodriguez and Hermillo Lucero and asked that
        they be on the lookout for the vehicle….

        The officers queried the Arizona license plate in the LPR system (the license plate
        reader system) and learned that the black BMW had pinged in Arizona. Based on
        this information, they suspected that if it traveled to New Mexico it would arrive in
        their patrol area in approximately three hours. The officers looking out for the
        vehicle did not know how many passengers were inside of it and did not know the
        identity of the driver, who later turned out to be identified as Defendant.

(Gov.’s Resp. 1-2, ECF No. 27.) The Government asserts that Rodriguez’s observation of the

BMW following behind another vehicle at a close distance, approximately two car lengths,

occurred before his dash cam was turned on. (Id. at 2.) According to the Government, the

information it disclosed in its response and in the discovery file previously provided to Defendant


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“is the entirety of the information that Special Agent Werick had in his possession prior to the

traffic stop.” (Id. at 2 n.1.)

        Defendant in his reply attached a transcript taken from Lucero’s lapel video. (Def.’s Reply

1 & Exhibit J, ECF No. 35 & 35-2.) According to the transcript, in response to Lucero’s question

of why DEA is with HSI, Werick replied, “I got this tip from my friend from Arizona.” (Def.’s

Ex. J, ECF No. 25-2 at 7 of 9.) Shortly thereafter, Lucero asked Werick why he did not get

interviewed for a position and Werick said, “Cuz I’m, I’m blackballed.” (Id.) Defendant notes that

the recording appears to be redacted in parts and that it is unclear if Werick being “blackballed”

has anything to do with this investigation. (Def.’s Reply 1, ECF No. 35.) Additionally, Defendant

asserts that the source of information received from Arizona DPS Officer Aaron Richmond is

relevant and important so Defendant can assess whether the information was properly obtained

and whether there was sufficient probable cause underlying that intelligence. (Id. at 1-2.) Finally,

Defendant requests the Government to admit or deny that he was the subject of electronic

surveillance, and if so, to produce the evidence of that surveillance. (Id. at 2-3.)

        II.      LAW ON DISCOVERY

        Federal Rule of Criminal Procedure 16(a)(1)(E) provides that the government must

disclose to the defendant, upon his request, papers, documents, photographs, and objects, among

other things, “if the item is within the government’s possession, custody, or control and: (i) the

item is material to preparing the defense; (ii) the government intends to use the item in its case-in-

chief at trial; or (iii) the item was obtained from or belongs to the defendant.” Fed. R. Crim. P.

16(a)(1)(E). A defendant must make a prima-facie showing of materiality before he is entitled to

obtain Rule 16 discovery. United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990). “Neither

a general description of the information sought nor conclusory allegations of materiality suffice; a
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defendant must present facts which would tend to show that the Government is in possession of

information helpful to the defense.” Id. To show materiality under Rule 16(a)(1)(E), the evidence

must “play an important role in uncovering admissible evidence, aiding witness preparation,

corroborating testimony, or assisting impeachment or rebuttal.” United States v. Lloyd, 992 F.2d

348, 351 (D.C. Cir. 1993). This materiality requirement is not a heavy burden; rather, evidence is

material as long as there is a strong indication it would enable the defendant to significantly alter

the quantum of proof in his favor. See United States v. Graham, 83 F.3d 1466, 1474 (D.C. Cir.

1996).

         The Supreme Court held in Brady v. Maryland, 373 U.S. 83, 87 (1963), “that the

suppression by the prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment, irrespective of the good

faith or bad faith of the prosecution.” The “touchstone of materiality is a ‘reasonable probability’

of a different result,” which exists “when the government’s evidentiary suppression ‘undermines

confidence in the outcome of the trial.’” Trammell v. McKune, 485 F.3d 546, 551 (10th Cir. 2007)

(quoting Kyles v. Whitley, 514 U.S. 419, 434 (1995)). Impeachment evidence affecting a witness’s

credibility falls under Brady when the reliability of a given witness may be determinative of a

defendant’s guilt or innocence. Giglio v. United States, 405 U.S. 150, 154 (1972). “[T]he

government typically is the sole judge of what evidence in its possession is subject to disclosure”,

and it acts at its own peril by failing to comply adequately with an order requiring disclosure of

Brady material. United States v. Presser, 844 F.2d 1275, 1281 (6th Cir. 1988).

         Brady’s disclosure requirements are limited to information in the government's possession

or knowledge, whether actual or constructive. United States v. Beers, 189 F.3d 1297, 1304 (10th

Cir. 1999). Although a prosecutor may not avert Brady obligations by keeping himself ignorant or
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compartmentalizing information, see Carey v. Duckworth, 738 F.2d 875, 878 (7th Cir. 1984), the

government has no affirmative duty under Brady to seek out information that is not in its or its

agents' possession, see United States v. Graham, 484 F.3d 413, 417-18 (10th Cir. 2007) (stating

there is no affirmative duty to discover information in possession of independent, cooperating

witness and not in government's possession). Brady is nonetheless interpreted broadly to

encourage prosecutors to carry out their duty to learn of favorable evidence known to others acting

on the government’s behalf in the case, including the police. United States v. Combs, 267 F.3d

1167, 1174-75 (10th Cir. 2001) (quoting Kyles v. Whitley, 514 U.S. 419, 437-38 (1995).

“Information possessed by other branches of the federal government, including investigating

officers, is typically imputed to the prosecutors of the case.” Beers, 189 F.3d at 1304. Yet, the

Tenth Circuit in Beers held that the state's knowledge and possession of potential impeachment

evidence would not be imputed to a federal prosecutor for purposes of Brady. Id. It nevertheless

left open the possibility that imputation might be appropriate in a “joint investigation” by federal

and state officials. See id. & n.2.

        III.    ANALYSIS

        The Court will address in turn the disclosure of the specific categories of evidence

Defendant requests.

                A. Giglio material regarding Special Agent Werick

        On December 15, 2022, the Court ordered the United States to make available to

Defendant, by the time required by law, evidence for which disclosure is mandated by Brady and

Giglio. (Order 5, ECF No. 14.) Consequently, if the Government has evidence regarding Werick

that constitutes information subject to Brady or Giglio, the United States already is obligated to

disclose such information to Defendant. The duty to determine what disclosure is required under
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Brady rests with the prosecution. See Banks v. Reynolds, 54 F.3d 1508, 1517 (10th Cir. 1995).

Given the Court’s prior Order, no additional disclosure order is necessary.

                B. Source of Information

        Defendant next argues that Werick’s Source of Information (“SOI”) is material to the

defense because it is likely someone who was present and involved in the commission of the crime.

The Government asserts that the person who contacted Werick is Arizona DPS Officer Aaron

Richmond who said he had “intelligence” about the BMW traveling to New Mexico with

methamphetamine. (Gov.’s Resp. 1, ECF No. 27.) It is unclear whether the “intelligence” is from

a confidential informant’s tip, electronic surveillance, or of some other form. For purposes of the

evidentiary hearing, the form and contents of the intelligence is not relevant because the

Government has limited its basis for the stop to the traffic violation.

        When law enforcement officers rely on an alert or tip from other law enforcement officers,

“the relevant inquiry is whether the officer who issued the alert—rather than the officer who

conducted the challenged action—had the requisite level of suspicion.” United States v. Rodriguez-

Rodriguez, 550 F.3d 1223, 1227 (10th Cir. 2008). But here, the United States is not arguing that it

had reasonable suspicion to stop the vehicle based on suspicion of drug trafficking. Instead, the

Government is relying solely on the following-too-closely violation to support its initial stop and

on evidence it observed during the stop to support the continued detention and subsequent seizure

of the contraband. The fact that officers had prior intelligence (regardless of what it was) is relevant

to the credibility issue of whether Rodriguez invented grounds to stop the vehicle for a traffic

violation as a pretext to pull over the vehicle to pursue a drug investigation. But, the contents of

that prior intelligence is not relevant to this hearing where the Court does not need to assess

whether Richmond had reasonable suspicion to support a stop for drug trafficking. See Whren v.
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United States, 517 U.S. 806, 810-13 (1996) (constitutional reasonableness of traffic stops depends

on whether police had probable cause to believe traffic violation occurred, not on subjective

motivation of officer).

       While the information may not be relevant to the hearing on the motion to suppress,

Defendant appears to have broadened the discovery request in his reply when arguing that the SOI

is material to his defense. (See Def.’s Reply 1, ECF No. 35.) Defendant seeks both the identity of

Richmond’s confidential informant, if that is the source, as well as any Brady or Giglio information

concerning the confidential informant. (Id. at 3.)

       The government has a limited privilege to withhold from disclosure the identity of

informants to protect the public interest in effective law enforcement. Roviaro v. United States,

353 U.S. 53, 59-60 (1975). The privilege gives way, however, where disclosure is relevant and

helpful to the defense or essential to a fair trial. Id. at 60-61. The Tenth Circuit has described the

balancing of interests as follows:

       [C]ases involving confidential informants fall into several broad categories. At one
       extreme are the cases where the informant is a mere tipster, and disclosure is not
       required. At the other extreme are cases such as Roviaro itself where the informant
       has played a crucial role in the alleged criminal transaction, and disclosure and
       production of the informant are required to ensure a fair trial. In addition, there are
       cases where there is a slight possibility a defendant might benefit from disclosure,
       but the government has demonstrated a compelling need to protect its informant.

United States v. Martinez, 979 F.2d 1424, 1426 (10th Cir. 1992) (quoting United States v. Moralez,

908 F.2d 565, 568 (10th Cir. 1990)). A defendant seeking disclosure has the burden of proof to

show a need for the disclosure. Id.

       As an initial matter, it is unclear whether a confidential informant is even involved in this

case. Assuming arguendo that the intelligence was from a confidential informant, Defendant has

not met his burden to establish how any such informant’s testimony will be helpful to his defense.
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This is not a case, like Roviaro, where the informant and the defendant were alone and unobserved

during the crucial occurrence underlying the indictment. See Roviaro, 353 U.S. at 64-65.

Defendant here is charged with possession with intent to distribute, based on the discovery by law

enforcement officers of narcotics in the vehicle in which Defendant was the driver and sole

occupant. He has not shown that any such SOI is more than a mere tipster or how the SOI’s

information is essential to his possible defense. Mere speculation about the usefulness of an

informant’s testimony is insufficient to compel disclosure. See Martinez, 979 F.2d at 1426.

Because Defendant has not met his burden under Roviaro, the Court will not compel the disclosure

of the confidential informant, if indeed there is one, at this time. 1

                  C. Electronic monitoring

         Defendant attached an affidavit stating he owns and has a privacy interest in his cell phone

and that, “[b]y this motion,” he requests discovery of any electronic surveillance of his phone.

(Def.’s Reply 2-3, ECF No. 25.) He asks that the Court order the Government to admit or deny

that he was the subject of electronic surveillance. The United States has not said whether it now

has in its possession the evidence from Arizona DPS’s investigation or whether any such

information includes evidence of electronic surveillance. For the same reasons discussed above,

this evidence is not relevant to the hearing on the motion to suppress. If the Government obtained

recorded statements of Defendant through electronic monitoring, then those recorded statements

are already subject to disclosure under the Court’s discovery order and an additional order is not

necessary. (See Order 2, ECF No. 14.)




1
  Notably, it is not yet clear whether the Government will rely at trial on evidence of any intelligence that Arizona
DPS developed prior to the traffic stop. This ruling does not pertain to the disclosure of trial witnesses’ identities or
trial exhibits. For trial evidence, the Government must follow the Court’s trial deadlines.
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       IT IS THEREFORE ORDERED that Defendant’s Opposed Motion to Disclose Any

Prior Information in the Possession of the New Mexico Police Department and the Department of

Homeland Security (ECF No. 22) is DENIED.


                                          _________________________________________
                                          SENIOR UNITED STATES DISTRICT JUDGE




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